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                                     EXHIBIT B

                                Form of Sale Notice




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

 In re:                                                            Chapter 11

 W. R. GRACE & CO., et al.,’                                       Case No. 01-01139 (JKF)
                                                                   (Jointly Administered)
                            Debtors.
                                                                   Hearing Date:            9:00 a.m., May 20, 2013

                                                                   Objection Deadline: May 3, 2013


                       NOTICE OF PRIVATE SALE OF REAL PROPERTY

To: (i)        The Office of the United States Trustee;

      (ii)     Counsel to JP Morgan Chase Bank N.A. as agent for the Debtors’ prepetition lenders;

      (iii)    Counsel to the L/C Facility Agent and L/C Issuers

      (iv)     Counsel to each of the official committees appointed in these Chapter 11 Cases;

      (v)      Counsel to the Asbestos Personal Injury and Asbestos Property Damage Future
               Claimants’ Representatives;

      (vi)     Those parties that requested service and notice of papers in accordance with Fed. R.
               Bankr. P. 2002;



     The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/Ida Grace Specialty Chemicals, Inc.), W.
     R. Grace & Co.-Conn., A-i Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon,
     Inc., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc.,
     Creative Food N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC
     (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., G C Limited Partners I, Inc. (f/k/a
     Grace Cocoa Limited Partners I, Inc.), G C Management, Inc. (17k/a Grace Cocoa Management, Inc.), GEC
     Management Corporation, GN Holdings, Inc., GPC Thomasville Corp., Gloucester New Communities
     Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary
     Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe,
     Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc.
     (17k/a Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace
     Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W.
     R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe
     Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
     Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH,
     Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings
     Corp. (f/ida Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (f/Ida Nestor-BNA, Inc.), MRA
     Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/Ida Environmental
     Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin &
     Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/ida Cross Country
     Staffing), Hayden-Gulch West Coal Company and H-G Coal Company.



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     (vii)    Buyer and Counsel to Buyer;
     (viii) Federal, state and local taxing authorities who have a reasonably known interest in the
            relief requested by this Motion
     (ix)     All persons or entities known or reasonably believed to have asserted a lien on or
              interest in the Property (including Permitted Exceptions);
     (x)      All persons or entities known or reasonably believed to have expressed a serious
              interest in acquiring the Property;
     (xi)     The United States Attorneys for the Districts of Delaware and Maryland;
     (xii)    The state attorneys general for the states of Delaware and Maryland;
     (xiii) The Maryland Department of Environment; and
     (xiv) The United States Environmental Protection Agency.

        PLEASE TAKE NOTICE that, subject to Court approval, Seller proposes to sell the

Property to Purchaser on the terms and conditions set forth below and as described in more detail

in the Debtors’ Motion for an Order Authorizing the Private Sale of Real Property and

Approving the Purchase and Sale Agreement [Docket No. 1 (the "Motion). 2 A copy of the

Sale Agreement (the "Sale Agreement") is attached as Exhibit I to the form of order attached to

the Motion. Any party wishing to receive a copy of the Motion or the SALE AGREEMENT

should contact Debtors’ counsel, attention:

                           Laura Davis Jones
                           James E. O’Neill
                           Kathleen P. Makowski
                           Pachuiski Stang Ziehi Young & Jones LLP
                           919 North Market Street, 11th Floor
                           P.O. Box 8705
                           Wilmington, DE 19899-8705 (Courier 19801)




2
    Capitalized terms not defined herein shall have the meaning ascribed to them in the Motion.
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         Please take further notice that the principal terms and conditions of the SALE

AGREEMENT are summarized below: 3

          Term                                                Summary Description
      Selling Debtor         W. R. Grace & Co.-Conn.
          Buyer              GAP VI Properties, LLC.
                             The Property, which the Sales Agreement describes as:
                                      That certain parcel of land containing approximately 66.8 +1- acres
                                      located at 7600 Grace Drive, Columbia, Maryland 21044, including
                                      without limitation any and all easements, rights, or rights-of-way
                                      relating to or benefiting such parcel of land, and all right, title, and
   Transferred Property               interest, if any, of Selling Debtor in and to the land lying within any
      (Section 1.01)                  street or roadway adjoining such parcel of land or any vacated or
                                      hereafter vacated street or alley adjoining such parcels of land to the
                                      center line thereof, and any and all rights-of-way, open or proposed
                                      streets (public or private), alleys, strips or gores of land adjacent
                                      thereto, together with all improvements located thereon, and any and
                                      all right, title and interest of Selling Debtor in and to any
                                      appurtenances to the Land.
   Base Purchase Price
                             $13.1 million, payable at Closing.
    (Section 2.01 (a))
                             Buyer intends to seek required governmental approvals to develop a residential real
                             estate project on the Property containing attached and detached residential dwelling
                             units, together with potential accessory retail and office space (if so required in
                             connection with obtaining required governmental approvals)(the "Project"). In the
                             event that prior to Closing or at any time within one (1) year after the date of Closing,
   Additional Purchase       Buyer obtains final approval for: (i) more than 450 single family attached or detached
          Price              residential dwelling units, in addition to the Base Purchase Price, Buyer shall pay
    (Section 2.01(b))        Twenty Five Thousand and 00/100 Dollars for each additional single family attached
                             or detached residential dwelling unit in excess of 450 approved; and (ii) if any
                             commercial office or retail space is required to be built by Howard County in
                             connection with obtaining governmental approvals for the Project, in addition to the
                             Base Purchase Price, Buyer shall pay Ten and 00/100 Dollars ($10.00) per square foot
                             of such required space.

                             $100,000, to Chicago Title Insurance Company (the "Escrow Agent"). The Initial
      Initial Deposit        Deposit and the Additional Deposits (collectively, the "Deposit") will be held and
     (Section 2.02(a))       disbursed pursuant to the escrow agreement between Seller, Buyer and the Escrow
                             Agent in the form of Exhibit B to the Sale Agreement.

  Due Diligence Period       The period commencing on the date of the Sale Agreement and continuing for up
   (Sections 2.02(a),        to twenty-four months total, consisting of the "Initial Study Period" of ninety (90)
          5.01)              days and up to seven (7) three-month extensions.



    Capitalized terms used in this summary of terms of the Sale Agreement and not otherwise defined in this
    Motion shall have the meanings ascribed to them in the Sale Agreement. To the extent of any inconsistency
    between this summary and the Sale Agreement, the Sale Agreement’s terms and conditions shall govern



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           Term                                                Summary Description
   Termination during
                              If Buyer terminates the Sale Agreement during the first ninety (90) days of the Initial
   Initial Study Period
                              Study Period, Buyer shall be entitled to the immediate return of the Initial Deposit
    (Sections 2.02(a),
                              together with accrued interest.
           5.05)
                              Buyer may extend the Due Diligence Period beyond the Initial Study Period for a
   Additional Deposits        maximum of seven (7) three-month extensions, by payment to the Escrow Agent of an
    (Section 2.02(b))         additional deposit of One Hundred Thousand Dollars ($100,000.00) for each successive
                              extension.
                              The Initial Deposit and the Additional Deposits (collectively, the "Deposit" shall be held
                              and disbursed in accordance with the Escrow Agreement and the Sale Agreement.
   Holding of Deposit
                              Accrued interest and other earnings on the Deposit shall be part of the Deposit. Except as
    (Section 2.02(c);
                              otherwise expressly provided in the Sale Agreement, the Deposit shall be non-refundable to
                              Buyer.
                              If Closing occurs, all deposits will be credited against the Purchase Price and paid over
                              to Buyer.
      Disposition of          If Seller terminates for default by Buyer, Seller’s sole remedy is receipt of the Deposit
  Deposit upon Closing        as liquidated damages.
   or Default (Section
                              If Buyer terminates for default by Seller, Buyer shall have the right to elect either: (i)
       "   "              ’
                              to terminate and receive the return of the Deposit together with interest, accrued
                              thereon, along with reimbursement of certain out-of-pocket costs and expenses, (ii) to
                              waive the default and proceed with the Closing, or (iii) to seek specific performance.
       Closing Date           The thirtieth (3 0th) day after expiration of the Due Diligence Period, if Purchaser has
      (Section 2.01)          not previously terminated the Agreement..
                              At any time before 5:00 p.m. Eastern time on the last day of the Due Diligence Period,
   Purchaser’s Right to       as its sole and exclusive remedy, Purchaser may terminate the Sale Agreement, if the
   Terminate (Section         results of its investigation are unsatisfactory to Purchaser in its sole and absolute
          5.05)               discretion. If such termination occurs after the termination of the Initial Study Period,
                              then the disposition of the Deposit shall be as set forth in Section 2.02.
                              Temporary Easements and Retained Equipment, as those terms are defined in Article
                              6.0 1(a), zoning regulations, etc.,, exceptions shown on an accurate ALTAIACSM
                              survey of the Property, real estate taxes and betterment assessments levied or assessed
  Permitted Exceptions
                              on the Property for the year during which Closing occurs that are not yet due and
     (Section 6.01)
                              payable and all matters of title or affecting title which constitute "Permitted
                              Exceptions" in accordance with Article VI of the Sale Agreement, including, without
                              limitation, any such matters which are not made the subject of a Title Defect Notice.
                              The Sale Order has become a Final Order.
   Closing Conditions
      (Article VII)           All covenants and agreements required to be performed before the Closing have been
                              performed.


           PLEASE TAKE FURTHER NOTICE that, subject to Court approval, pursuant to

sections 363(b) and 363(f) of the Bankruptcy Code, and subject to any orders entered by the




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Court, Seller will sell all right, title, and interest in the Property with any liens, claims,

encumbrances, and interests attaching to the proceeds of that sale.

                                          OBJECTION DEADLINE


PLEASE TAKE FURTHER NOTICE that objections and other responses to the relief (each,

an "Objection") requested in the, if any, must be in writing and filed with the Bankruptcy Court

no later than 4:00 p.m. prevailing Eastern Time on May 3, 2013 (the "Objection Deadline").


         PLEASE TAKE FURTHER NOTICE that you must also serve any such Objection or

Cure Objection on each of the following parties prior to the Objection Deadline:

Co-counsel for          Laura Davis Jones                      Adam Paul
the Debtors:            James E. O’Neill                       John Donley
                        Kathleen P. Makowski                   Kirkland & Ellis LLP
                        Pachulski Stang Ziehi Young &          300 North LaSalle Street
                        Jones LLP                              Chicago, IL 60654
                        919 North Market Street, 11th Floor
                        P.O. Box 8705
                        Wilmington, DE 19899-8705
                        (Courier 19801)
                        Roger J. Higgins
                        The Law Offices of Roger Higgins,
                        LLC
                        111 East Wacker Drive
                        Suite 2800
                        Chicago, IL 60601

Counsel to the          Denise K. Wildes                       Michael R. Lastowski
Official                Stroock & Stroock & Lavan              Duane, Morris & Heckscher, LLP,
Committee of            180 Maiden Lane, New York,             1100 N. Market
Unsecured               NY 10038-4982                          Street, Suite 1200, Wilmington, DE
Creditors                                                      19801-1246




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Counsel to the          Scott L. Baena                          Michael B. Joseph, Ferry & Joseph,
Official                Jay Sakalo                              P.A.
Committee of            Bilzin, Sumberg, Dunn, Baena,           824 Market Street
Property                Price & Axelrod,                        Suite 904
Damage                  First Union Financial Center, 200       P.O. Box 1351,
Claimants               South Biscayne Boulevard, Suite         Wilmington, DE 19899
                        2500
                        Miami, FL 33131

Counsel to the          Peter Van L. Lockwood                   Mark T. Hurford
Official                Caplin & Drysdale, Chartered            Campbell & Levine
Committee of            One Thomas Circle, N.W.                 222 Delaware Avenue
Personal                Washington, D.C. 20005                  Suite 1620
Injury                                                          Wilmington, DE 19801
Claimants

Counsel to the          Philip Bentley                          Teresa K.D. Currer
Official                David Blabey                            Buchanan, Ingersoll & Rooney, P.C.
Committee of            Kramer Levin Naftalis & Frankel         1000 West Street
Equity Holders          LLP, 919 Third Avenue                   Suite 1410
                        New York, NY 10022                      P.O. Box 1397
                                                                Wilmington, DE 19899-1397

Counsel to the          Richard H. Wyron                        John C. Philips, Jr.
Future                  Roger Frankel                           Phillips, Goldman & Spence, P.A.
Claimants’              Orrick, Herrington & Sutcliffe, LLP     1200 North Broom Street
Representative          3050 K Street, NW, Suite 300            Wilmington, DE 19806
                        Washington, DC 20007

The Office of           Richard Shepacarter
the United              844 N. King Street
States Trustee          Wilmington, DE 19801

         IF NO OBJECTIONS OR CURE OBJECTIONS ARE TIMELY FILED AND SERVED

IN ACCORDANCE WITH THIS NOTICE, THE BANKRUPTCY COURT MAY GRANT

THE RELIEF REQUESTED BY THE MOTION WITHOUT FURTHER NOTICE OR

HEARING.

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        IN THE EVENT THAT ANY OBJECTION OR RESPONSE IS FILED AND SERVED

IN ACCORDANCE WITH THIS NOTICE, A HEARING ON THE MOTION WILL BE HELD

BEFORE THE HONORABLE JUDITH K. FITZGERALD AT THE UNITED STATES

BANKRUPTCY COURT, 824 NORTH MARKET STREET, WILMINGTON, DE 19801 9

AT 9:00 A.M., May 20, 2013.

Dated: April 15, 2013               KIRKLAND & ELLIS LLP
                                    Adam Paul
                                    John Donley
                                    300 North LSale Agreementlie Street
                                    Chicago, IL 60654
                                    (312) 862-2000

                                    and

                                    THE LAW OFFICES OF ROGER HIGGINS, LLC
                                    Roger J. Higgins
                                    111 East Wacker Drive
                                    Suite 2800
                                    Chicago, IL 60601
                                    (312) 836-4047

                                    and

                                    PACHULSKI STANG ZIEHL & JONES LLP



                                    Laura Davis Jones (Bar No. 2436)
                                    James E. O’Neill (Bar No. 4042)
                                    Kathleen P. Makowski (Bar No. 3648)
                                    Timothy P. Cairns (Bar No. 4228)
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                                    (302) 652-4400

                                    Co-Counsel for the Debtors and Debtors-in-
                                    Possession




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